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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS
DOCKET NO. 1:16-cv-12068-IT

FILED
| oe
JEREMIAH DOE, ) 3 =
Plaintiff, ) Date S/o
) Deputy Clerk
Vv. ) MOTION IN LIMINE TO EXCLUDE
ALAN SANDERSON, II. ) TESTIMONY REGARDING MEDICAL
Defendant ) DIAGNOSIS OR CAUSATION
)

Defendant Alan Sanderson, I], moves in limine to exclude any testimony regarding
medical diagnosis or causation by plaintiff Jeremiah Doe, or any of plaintiffs proposed
witnesses. As reasons therefor, defendant states that plaintiff does not possess the requisite
scientific, technical or other specialized knowledge in order to testify to medical diagnosis or
causation. Further, plaintiff has not disclosed any expert witnesses to testify to a medical
diagnosis or causation.

ti the Complaint, plaintiff alleges that he “received injuries from what defendant
Sanderson did. The plaintiff received bruises on both wrists about 2 inches in diameter and
numbness on the pointer finger, thumb, and web between the thumb and pointer finger. This
numbness lasted 6 months to a year.” Complaint 77.

It is improper for a plaintiff to present lay opinion testimony regarding medical diagnosis
or causation because lay witnesses do not have the requisite “scientific, technical or other
specialized knowledge” to do so. Fed. R. Evid. 701(c) and Trout, et al., v. Hershey Medical
Center, et al, 2008 WL 3978060 (M.D. Pa. Aug. 26, 2008). Because

understanding medical causation is “beyond the ... knowledge of the ordinary layman ... proof of
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if it must rest upon expert medical testimony.” Hachadourian's Case, 340 Mass. 81, 85, 162
N.E.2d 663 (1959).

Under Federal Rule of Evidence 701, lay witnesses may testify in the form of an opinion
that is limited to one that is: “(a) rationally based on the witness’s perception; (b) helpful to
clearly understanding the witness’s testimony or to determining a fact in issue; and (c) not based
on scientific, technical, or other specialized knowledge within the scope of Rule 702
[regarding testimony by expert witnesses].”

None of plaintiffs' proposed witnesses have been designated as an expert or otherwise
shown to have the scientific, technical, or specialized knowledge to provide
opinion testimony regarding the medical diagnosis, prognosis, causation, or permanency of
plaintiff's injuries. Plaintiff may be able to provide opinion testimony, however, regarding the
aspects of his injuries that are rationally based on his perception and within the common
knowledge of a lay person. Plaintiff can testify to his own perception, what he felt, saw, smelled,
heard, based on his personal experience. On the other hand, plaintiff is not qualified to opine
regarding the medical diagnosis, prognosis, causation or permanency of his alleged hand injury.
Only a medical expert whose opinion meets the requirements of Daubert and Federal Rule of

Evidence 702 could testify regarding the diagnosis of a hand injury and any long term effects.

For the above reasons, defendant moves to exclude any testimony by plaintiff or

plaintiff’s witnesses regarding medical diagnosis or causation.
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Respectfully submitted,
Defendant Alan Sanderson, II,
By his attorneys,

NANCY ANKERS WHITE
Special Assistant Attorney General

/s/ Jennifer A. Doherty
Charles W. Anderson, Jr., BBO # 635016

Jennifer A. Doherty, BBO #646151
Department of Correction Legal Division
70 Franklin Street, Suite 600
Boston, MA 02110
DATE: March 8, 2021 (617) 727-3300
Charles. Anderson2@Massmail.state.ma.us
Jennifer. Doherty@MassMail.state.ma.us

CERTIFICATE OF SERVICE
I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be mailed to those indicated as non-registered participants, including the pro se
plaintiff at the following address:

Jeremiah Doe (T93493)

Old Colony Correctional Center
One Administration Road
Bridgewater, MA 02324

Dated: March 8, 2021 /s/ Jennifer A. Doherty
Jennifer A. Doherty, BBO #646151

